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Brin Daal Hill. e435

f; eltionar 7 Defendavit: ULI—-CV- LB 6
vu
United Stakes of fmerica,

RespandaitZ | aialith

 

 

 

 

otion tor Summary J Tdenector Case. Dismisse|

of Eypervised felease. Viclation

 

 

 

2255 Petit ianer and criminal Deferdant Brign Dad

Hill "Brian, Hill ) fles this Metian Wilh this honorable.
C our f Egue esting Sumntary Jidgenest-or Cuse
Dicmissal_of both the Suporviséd Release. Violation
(SAV) and the. Arrest Warrant Defainer on the basis

of viglat Or a Supervised Kel lease. Here are the YEeasens,

 

 

Meation and brie 7 il emarandum ot law

 

“a Hill is evilitd be Summary. Ju udament as 0. mater
law. Pursuant t2 the Fourth Amendment af the United
os Consiililion bill af Ais, Crobable Cause clause.

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2. Under _ULS. Sup reme Courl case law Marbury_v:
Madison gave te Federal Courts the exclusive /
ailhocity to inler pret The ( onstitition, and lint the
actions { of Coserrmeet te only ly parler atone that |
Ave. Contitat onal | and Dar the Government trom

Unconaititiona! aclions Marbury v. Madison (18/3)

 

3, The Frobable le Couse Clause af the Four (4)
Amendment said that. Ne Warrarfs shall be iss ued

bat Upon probable cause... J Thal_apeli les To even | Warranls
of Arvestc |

 

+ Hi L| had already explained in pleadings at Documents no,
15) 153 and us 4 on Up, Thal Hill's attorney Scath

Albrecht (Martinsville VA Public Nehsader said hat Hill is not

guilty of. indecent exposure in CASE Conmonweatth

| “at Virginia, eal. V. Brian David Hill. Hil shall ll go to Teia!
on DeZember 21, 7 LE at 10: we (Casé no. CA$-3L58,

5, In jhe evert Thal the presiding Ji ge. Tinds That Hil! j:
nat ~ guilty Hill ld d not Commit The. Virginia dense. ot
indeZont expgsire, Hillis innocent, Hill is a victiin_ of
| crime, and this Court Can Tate the Commonwealth Court

Jud els deci isan AS A clear cut basis of i iNnece nce
a that Commonwealth chap. Hill asl The C Court te
waite unt! | The Martinsvil vill ae ene ral Disttich Court declsion
betbre malig AA. hecision. on This [ Vclion and brieé

Case 1:13-cr-00435-TDS we 165 Filed 12/21/18 Pane 2? of 4

 

 
 

6, Lf the. sole basis ot the Delainer and Arrest Warrant

is because ofan_a llegation at vial lating Supervised Kelease
_ over Hl [is criminal chavoe (See paragraphs 4-and 3) then

the verdict of nol =gallty proves that 3 there was_no

violation of Supervié ‘od ‘Release, thereat re such Detaner |

IS Unconstilaton al and IS_an uclawrtel détainnent, he

An rest Warn rant has nig probabl le Cause and should be

quashed As an UNC Ons (| lulianal warrant that has no

is Yor_execuilion_in regards To Brian Davit_Hill

 

 

The fad are established quite. clear he arrest of Url

on the basis of vid lating Sipervised Release over a char ge
Shab Hill is innocent of is is Unconsttlaltonal | and Cal lawful. Hill
Ke espectilly reauesls that The Caurl quash the Arrest
Warr, ye vacate the Supervised Release Violation AS Moat.
Vac alu ot the Arrest. Warract i is Wr railed in the tack
of this_Case and as_a_métler ot law. Summary Jidament
Ls Wwarraniled in the maller ot Super vised Release WVio| lalion
asa miller af tack and law, Therefore this court must
move te (2.) Grant Hill's Maton far Summary Ju it
Case Dismissal of Supervised fel CASE Viol lition ; Z) vac. dle
fre auash the Arrest Warrant 7 Detamer oF Brig jan David

| 3) and _oavact any other relief that the Court

fui propét and uti

 

Resrectly filed with the Courl this he 13% duty ot.
December! JOLE, 3

Case 1:13-cr-00435-TDS Document 165 Filed 12/21/18 Pane 32 o0f4
 

 

Brian David Hill (Fro Se)
$3024.65
Martinsville City Jail
p. 0, Box J 4.326
Martinsvill le, VA A474

| US.WGEO,
— Certtheate of Service - |

 

 

 

         

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Clerk serve all patles to this case Through CM/EC F
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Brian Dawid Hill (Pro a)
44307165
Martinsville le Cy hil
. Pi 0. Box 1326
(od Bless America Mattinsville VA 24474
ULS.W.GO,
Make America Creal figain, Drain the Swaerp — — Teump

Case 1:13-cr-00435-TDS sf 165 Filed 12/21/18 Pane 4Aofta
